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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUN[BIA

 

' CASSANDRA FAIRBANKS,
Plaintiff,
n v. ' 7 Case No._ 1:17_-cv-01052 (TNM),
EMMA ROLLER, h
Defendant.

 

 

ORDER

Up_on consideration of Defendant’$ Motions to Dismiss under the F ederal Rules of C_ivil
Procedure and_the District of Columbia anti-SLAP,P statute, the pleadings, relevant law, and
related legal memoranda in opposition and in Support, for the reasons set forth in the

accompanying Memorandurn Opinion, it is hereby-

()RDERED that the Defendant’s Motion to Disrniss under the Federal Rules of Civil
Procedure is GRANTED and the Defendant’s Motion to Dismiss under the District of Columbia

anti-_SLAPP statute is DENIED`. The Clerk of Court is directed to close this case.
' _ S() ORDERED.

This is a final, appealable Order.

    

Dated; June 6, 2018 _ . 5 . TREVoRN MCFADDEN '
United States District Judge

